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Exhibit C
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
CASE NO.: 8:15-cv-00192-EAK-AEP
AMERICAN GENERAL LIFE INSURANCE COMPANY,
Plaintiff,
vs.
KEVIN H. BECHTEL, et al,
Defendants.
DEPOSITION OF: JANA KLOTZ
TAKEN BY: RICHARD MILLIAN, ESQUIRE
TAKEN: January 18, 2017
TIME: 10:00 a.m. - 12:00 p.m.
PLACE: Verbatim Professional Reporters
2202 N. Westshore Boulevard
Suite 200
Tampa, FL 33607
REPORTED BY: CHARLENE M. EANNEL, RPR
Court Reporter, Notary Public
PAGES 1 - 62
VERBATIM PROFESSIONAL REPORTERS, INC.
601 CLEVELAND STREET, SUITE 380
CLEARWATER, FL 33755
(727) 442-7288

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1 A. It was, I believe, prior to '07, and he left and

2 went to another agency and, I believe, is now retired.

3 Q. Okay. Do you know where he's retired, what

4 state?

5 A. I don't.

6 Q. Do you know what his position was when he did

7 retire from American General or when he left American
8 General, I should say?
9 A. He was a senior distribution officer, but I'm

10 not sure of his exact title.

11 Q. Turn to Bates label, at the bottom, 57.
12 A. (Witness complies.)
13 Q. Who does this agency agreement appear to be

14 between?

15 A. Life Brokerage Partners, LLC and American
16 General.

17 Q. And what indicates to you that it's Life

18 Brokerage Partners and American General?

19 MR. DONAHUE: Object to the form.

20 THE WITNESS: So it's definitely American

21 General because it's our agreement, and then the Life
22 Brokerage Partners corporate name is there listed at
23 the top.

24 BY MR. MILLIAN:

25 Q. Okay. So if we went back to page 1 -- you don't

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1 commissions, you would have -- so really, depending on

2 your need, you could possibly have another page regarding
3] that.

4 Q. But those are the three main categories of

5 documents? I'm not going to hold you to it, but those are
6 the three that I'm concerned about.

7 A. That's right.

8 Q. What are contained in the -- I think you said

9 ten pages of the agency agreement? What makes up those

10 ten pages today?

11 A. Sure. Today it's the signature page, you know,
12 giving us the information of who is actually signing the
13 agreement, and then really the -- I refer to as the legal
14 language of the contract.

15 Q. Okay. And does the legal language of the

16 contract, are they -- are agents required to initial those
17 pages or sign those pages off today?

18 A. No.

19 Q. Okay. Is there any verification procedure in
20 place today as we sit here that American General verifies

21 that an agent actually saw the legal language of the

22 contract, of the agency agreement?

23 A. No, there is no procedure in place to verify

24 that.

25 Q. If I wanted to be an agent today, could I go on

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1 downline agents, so I would assume they would be very

2 familiar with the contracting language as they onboarded

3 new people.

4 Q. Does the contracting language ever change?

5 A. I'm sure it could change, but it's usually

6 pretty static for many years.

7 Q. Who would be in a better position to testify as
8 to whether the terms of the lawyer language changes on a

9 more frequent basis? Either yourself or somebody that's a

10 national marketing organization?

11 MR. DONAHUE: Object to the form.

12 THE WITNESS: I would say if you want to know if
13 American General's contract language is changing, you
14 would need to go to someone in legal who would be

15 responsible for changing the language.

16 MR. MILLIAN: Okay.

17 BY MR. MILLIAN:

18 Q. Do you know John Ekberg?
19 A. I know him in preparation for today.
20 Q. Okay. I think we did it for 01 but for 57, is

21 there any language on that agency agreement page that

22 indicates that there is additional lawyer language to this

23 agency agreement?
24 MR. DONAHUE: Object to the form.
25 THE WITNESS: I don't see that additional

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1 language.
2 BY MR. MILLIAN:
3 . Q. Okay. And if you look at the subsequent pages
4 to 57, is there anything on those pages that would
5 indicate that either Life Brokerage Partners or Kevin

6 Bechtel reviewed this lawyer language prior to signing the

7 agency agreement?
8 A. No.
9 Q. Did you have a chance to review the rescission

10 and release agreement that was entered into between

11 American General and the Sasoni trust in this case?

12 A. Do you have a copy for me to see?

13 Q. Yes.

14 A. Yes, I do believe that I did see this.

15 Q. Okay. And do you know how much money American

16 General paid to the trusts for this agreement?

17 A. Not off the top of my head.

18 Q. Okay. Is that something that you could

19 ascertain, though?

20 A. Sure.

21 Q. If I asked you to turn to the second page in

22 paragraph 2, would that help you to determine that amount?

23 A. Yes.
24 Q. Okay. Do you know if that amount in paragraph 2
25 is more or less or the same of the amount of premium that

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American General's website, go to that form's form, or
would I have to go through an IMO or somebody else that

has it, a recruiter?

A. You would have to go through someone who has
access.

Q. I couldn't get into that system?

A. Correct.

Q. Okay. As part of the application procedure

today to -- to become an agent, are the -- is the agent or
IMO, the recruiter, and I -- forgive me if I'm
interchanging those -- is the recruiter required to return

the signed agency agreement along with the legal language
of the agency agreement?

A. Today in our current environment we post the
executed contract or the signature pages to our web site,
and the recruiter or the IMO would have access, as well as
the agent who signed the contract.

The complete agency agreement is available
through our forms depot, our "Fast Forms," and would be
available to the recruiter and to the agent.

Q. But it wouldn't be available to the agent until
after he became an agent, correct?

A. So to me, as a recruiter who is downloading the
forms for the agent to sign, would provide them the full

information or the agreement to sign.

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